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 7
 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                     EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         ) CR. S-11-356 KJM
                                       )
12             Plaintiff,              )
                                       ) [PROPOSED] ORDER FOLLOWING
13        v.                           ) HEARING ON DEFENDANT’S MOTION
                                       ) FOR DISCOVERY
14   MARCOS PANTOJA-INFANTE,           )
                                       )
15              Defendant.             )
                                       )
16
17
18        This matter came before the Court for a hearing on Defendant

19   Marcos Pantoja-Infante’s Motion for Discovery on April 18, 2013.

20   Plaintiff United States of America was represented by Todd D.

21   Leras, Assistant United States Attorney.       Defendant appeared with

22   his counsel, Attorney Preciliano Martinez.

23        The parties argued the matter, addressing each of the

24   twenty-eight items listed in the discovery motion.         The

25   government represented that it has already complied, or intends

26   to continue to comply in advance of trial, with its discovery

27   obligations under Federal Rules of Criminal Procedure 16(a) and

28   26.2, Brady v. Maryland, 373 U.S. 83 (1963), Giglio v. United

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 1   States, 405 U.S. 150 (1972), and United States v. Henthorn, 931
 2   F.2d 29 (9th Cir. 1991).   The parties also agreed, in order to
 3   avoid unnecessary delay during the course of the trial, to
 4   production of materials covered by the Jencks Act, 18 U.S.C. §
 5   3500, fourteen days prior to commencement of the jury trial in
 6   this matter.
 7        Based on those representations and further argument of the
 8   matter, the Court ruled as follows:
 9        Items 1, 3, 5, and 6 - Based on the government’s
10   representations regarding compliance with Rule 16 of the FRCP,
11   the requests are moot;
12        Item 2 - The government agreed to provide an updated copy of
13   defendant’s criminal history;
14        Items 4 and 10 - Defendant withdrew the request for these
15   items, conceding that there was no statutory or case authority
16   supporting their production;
17        Items 7 and 19 - Based on the absence of statutory or case
18   authority supporting discovery of the requested items, the
19   requests are denied;
20        Items 8, 9, 11, 12, 13, 14, 17, 18, 20, 21, 22, 24, 25, 26 -
21   To the extent that these requests are covered by the Jencks Act
22   and/or Rule 404(b) of the Federal Rules of Evidence, they are
23   subject to disclosure by agreement of the parties fourteen days
24   in advance of trial;
25        Item 15 - Defendant’s request for in camera inspection of
26   the government’s files for potential Brady materials is denied;
27        Item 16 - Defendant’s request for disclosure of the identity
28   of any confidential reliable informants is denied;

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 2        Items 23, 27, and 28 - Based on the government’s
 3   representation regarding compliance with its obligations under
 4   Henthorn, the requests are moot.
 5        The Court directed that the government prepare this formal
 6   order consistent with its rulings as to the various items
 7   requested in the discovery motion.
 8             IT IS SO ORDERED.
 9   DATED:   April 29, 2013.
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